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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

    ANTHONY WEST #745796,

          Plaintiff,                NO. 2:21-cv-10225

    v                               HON. NANCY G. EDMUNDS

    EMMY CHOGE, et al.,             MAGISTRATE JUDGE
                                    PATRICIA T. MORRIS
          Defendants.
                                        DEFENDANT FENRICK’S
                                         MOTION IN LIMINE TO
                                        EXCLUDE PLAINTIFF’S
                                      WITNESS BEDAR AS EXPERT
                                              WITNESS

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        DEFENDANT’S MOTION IN LIMINE TO EXCLUDE
       PLAINTIFF’S WITNESS BEDAR AS EXPERT WITNESS



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 Dated: August 30, 2024
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            CONCISE STATEMENT OF ISSUES PRESENTED

       1.     Federal Rule of Civil Procedure 26(a)(2)(D)(i) requires that
              experts be disclosed, accompanied by a written report, when
              necessary, at least 90 days before trial. Plaintiff has
              designated BDS Bedair as a non-retained expert for the first
              time in the joint final pretrial order, without submitting a
              disclosure of the subject matter and summary of the facts
              and opinions on which he expects to testify. Should this
              Court deny Bedair from giving expert testimony when
              Plaintiff failed to timely disclose him?

       2.     Rule 702 allows testimony from a witness who is qualified as
              an expert by knowledge, skill, experience, training, or
              education. Plaintiff has untimely named a dental surgeon to
              testify as a non-retained expert witness who is not a
              registered nurse. Should the motion in limine to exclude Dr.
              Bedair be granted when he is not qualified to testify as an
              expert on nursing practices?

      CONTROLLING OR MOST APPROPRIATE AUTHORITY

 Authority:

 Fed. R. Civ. P. 26(a)(2)(C)
 Fed. R. Civ. P. 26(a)(2)(D)(i)
 Fed. R. Civ. P. 37(c)(1)
 Fed. R. Evid. 702




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                         STATEMENT OF FACTS

       Plaintiff, Anthony West, #745796, is a prisoner currently confined

 within the Michigan Department of Corrections (MDOC) at the G.

 Robert Cotton Correctional Facility (JCF) in Jackson, Michigan. West

 filed his complaint pro se on January 27, 2021. (ECF No. 1.) West’s

 claims arise out of his incarceration at the Gus Harrison Correctional

 Facility (ARF), and from events occurring in September 2019, and

 November 14-20, 2019. (ECF No. 1, PageID.17,37; ECF No. 94-2, West

 Dep., PageID.798-99, 50:23-51:20.)

       Discovery was held in this matter from January 2022, until

 August 2022. (ECF No. 47; ECF No. 77; ECF No. 85.) And all

 Defendants filed motions for summary judgment in September 2022.

 (ECF No. 94; ECF No. 86; ECF No. 92.) After over three years of

 litigation, the only remaining claim is against MDOC Defendant

 Fenrick, a registered nurse (RN), for Eighth Amendment claims,

 “stemming from Plaintiff’s post oral-surgery care.” (ECF No. 124,

 PageID.1458.)

       West was assigned counsel on April 12, 2024. (ECF No. 143; ECF

 No. 144; ECF No. 145; ECF No. 148.) The trial date is scheduled for



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 September 5, 2024. (ECF No. 154.) West filed a motion to add an oral

 surgeon expert witness, only 51 days before trial, and sought to file the

 expert report, that would be required for such a witness, only 20 days

 before trial. (ECF No. 159, PageID.1889.) On August 12, 2024, this

 Court denied West’s motion holding, in pertinent part, “this claim is not

 about dental malpractice but about an unconstitutional indifference to

 Plaintiff’s need for follow-up care by prison officials.” (ECF No. 166,

 Ord., PageID.1957.) In addition, this Court held that, “only the identity

 of Plaintiff’s proferred expert witness, Dr. Thomas Bolten, has been

 disclosed while the contents of his opinion are still unknown to

 Defendants.” (Id.) This Court deemed it unfair to Defendant that,

 “whether Defendants will be able to retain an expert who can prepare

 their own report for rebuttal purposes under Rule 26(a)(2)(D)(ii) in the

 weeks between the disclosure of Plaintiff’s expert report and the start of

 trial is unknown.” (Id.) For much the same reasons, Defendant Fenrick

 asks this Court to grant their motion in limine to not permit BDS

 Bedair to offer any expert opinion at trial.




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                                ARGUMENT

 I.    Fenrick’s motion in limine should be granted because West
       failed to disclose his proposed non-retained expert witness
       or provide a Fed. R. Civ. P. 26(a)(2)(C) disclosure within 90
       days of trial under Fed. R. Civ. P. 26(a)(2)(D)(ii), the failure
       is not harmless or substantially justified, and his potential
       subject matter testimony is not relevant.

       The motion in limine should be granted because West failed to

 comply with Fed. R. Civ. P. 26(a)(2)(C), by not providing a disclosure for

 the proposed expert witness, and the failure is not harmless or

 substantially justified under Fed. R. Civ. P. 37(c)(1).

       A.    West failed to comply with Fed. R. Civ. P. 26(a)(2)(C).

       Fed. R. Civ. P. 26(a)(2)(C), states that witnesses who are not

 required to provide a written report must still disclose, “(1) the subject

 matter on which the witness is expected to present,” and, “(ii) a

 summary of the facts and opinions to which the witness is expected to

 testify.” Fed. R. Civ. P. 26(a)(2)(C); see RJ Control Consultants, Inc. v.

 Multiject, LLC, 100 F.4th 659, 673 (6th Cir. 2024).

       West listed Ennis Malik Bedair, BDS, as a, “[n]on-retained expert

 witness/ Fact witness,” in the joint final pretrial order. (ECF No. 167,

 Jt. Final Pretrial Ord., PageID.1973.) West did not provide the

 disclosure for Dr. Bedair laying out the subject matter for this witness,



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 nor has he given a summary of the facts and opinions to which the

 witness is expected to testify.

       At this point, a week before trial, Fenrick is left only to guess at

 what this witness is going to testify that would be relevant to the

 factual or legal issues in this case. The contact address provided by

 West in the final pretrial order lists Dr. Bedair’s business address at,

 “University of Michigan Health, 1500 E. Medical Center Dr., Floor 2

 Room C213, Ann Arbor, MI 48109.” (Id.) Presumably, Dr. Bedair

 performed the oral surgery for West. If that is the case, then there is no

 relevance to his testimony because the legal issue does not involve the

 tooth extraction, but Fenrick’s response to Plaintiff’s alleged claim that

 he was in pain four days later. Therefore, Dr. Bedair would not be able

 to offer opinion testimony regarding West’s tooth pain four days later

 because he was not involved in West’s treatment after he returned to

 the prison. See Guar. Trust Life Ins. Co. v. Am. Med. & Life Ins. Co.,

 291 F.R.D. 234, 237 (N.D. Ill. July 26, 2013) (“Non-retained experts

 must only testify about opinions that were formed during the course of

 their participation in the relevant events of the case, and only to those




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 opinions which were properly disclosed.”). Thus, Plaintiff’s disclosure

 does not comply with Fed. R. Civ. P. 26(a)(2)(C).

       B.    Plaintiff failed to comply with Fed. R. Civ. P.
             26(a)(2)(D)(i).

       Fed. R. Civ. P. 26(a)(2)(D)(i), requires that expert disclosures be

 made, “at least 90 days before the date set for trial[.]” Here, trial is set

 for September 5, 2024. Thus, Plaintiff’s request is untimely as he

 named his proposed non-retained expert less than a month before trial

 and has not made any disclosures for this witness at all. Hence,

 Plaintiff’s disclosure does not comply with Fed. R. Civ. P. 26(a)(2)(D)(i).

       C.    Plaintiff’s failure to comply with Fed. R. Civ. P. 26(a)
             is not harmless or substantially justified.

       Fed. R. Civ. P. 37(c)(1), states that, “[i]f a party fails to provide

 information as required by Rule 26(a) or (e), the party is not allowed to

 use that information or witness to supply evidence at trial, unless the

 failure was substantially justified or is harmless.” The Court must

 consider five factors to assess whether a Plaintiff’s failure to timely

 disclose an expert witness is, “substantially justified,” or, “harmless”:

       (1) the surprise to the party against whom the evidence
       would be offered; (2) the ability of that party to cure the
       surprise; (3) the extent to which allowing the evidence would
       disrupt the trial; (4) the importance of the evidence; and (5)


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       the nondisclosing party’s explanation for its failure to
       disclose the evidence.

 Howe v. City of Akron, 801 F.3d 718, 748 (6th Cir. 2015). “The burden

 is on the potentially sanctioned party to prove harmlessness.” R.C.

 Olmstead, Inc., v. CU Interface, LLC, 606 F.3d 262, 272 (6th Cir. 2010).

       First, Plaintiff’s disclosure of a non-retained expert witness is a

 surprise to Defendant Fenrick. If the Court allows Plaintiff to utilize

 the testimony of an expert witness at trial, “the defendants would have

 to confront at trial the opinions of an expert whose detailed report they

 would not have seen before the 90-day-before-trial deadline, and who

 they would not have deposed, and cannot depose since the discovery

 period has closed.” RJ Control Consultants, Inc. v. Multiject, LLC, No.

 16-10728, 2022 WL 163614, at *6 (E.D. Mich. Jan. 18, 2022), appeal

 dismissed, No. 22-1102, 2023 WL 2785764 (6th Cir. Apr. 5, 2023), and

 aff’d, 100 F.4th 659 (6th Cir. 2024). West appears to have settled on Dr.

 Bedair to be their expert witness after his original expert, Dr. Bolten,

 was denied by this Court given the timing of his disclosure as a non-

 retained expert. Naming Dr. Bedair as an expert for the first time in the

 joint final pretrial order less than a month before trial is the very

 definition of surprise and is more egregious than West’s attempt to


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  name Dr. Bolten only 51 days before trial. Further, Defendant Fenrick

  is afforded no time to consult with an expert of his own regarding Dr.

  Bedair’s non-existent disclosure or to secure a rebuttal expert to testify

  without that disclosure.

       Second, there is no ability to cure the surprise. Fed. R. Civ. P.

  26(a)(2)(C) and 26(a)(2)(D)(i), read together, requires that a party

  disclose an expert and provide disclosure of the subject matter of the

  testimony and the summary of facts and opinions of the non-retained

  expert, 90 days before trial. The requirement to provide a timely

  disclosure is so that, “opposing counsel is not forced to depose as expert

  in order to avoid ambush at trial.” R.C. Olmstead, Inc., v. CU Interface,

  LLC, 606 F.3d 262, 271 (6th Cir. 2010). Since the non-retained expert

  disclosure is untimely and trial is scheduled to begin on September 5,

  2024, Defendant Fenrick has no time to cure the surprise as he cannot

  depose Dr. Bedair before the trial. Further, Defendant Fenrick is

  unable to, “introduce an expert or witness of [his] own to counter the

  new report, [he] could not. It is too late.” L.V. Nagle & Assocs., Inc. v.

  Tubular Steel, Inc., No. 2:19-CV-11399, 2023 WL 2575052, at *2 (E.D.

  Mich. Mar. 20, 2023). Defendant Fenrick would not have the 30 days



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  allowed under Fed. R. Civ. P. 26(a)(2)(D)(ii), to disclose his own expert

  to rebut Plaintiff’s proposed expert.

       Third, allowing West’s newly proposed expert to testify would

  disrupt the trial. The Court would need to, again, re-set the trial date

  to reboot the entire discovery process to allow for proper expert

  discovery in this matter. West has not properly disclosed Dr. Bedair as

  an expert as no disclosure has been provided. Defendant Fenrick is

  completely in the dark regarding Dr. Bedair’s potential testimony as

  West only names Dr. Bedair in the final pretrial order without any

  further elaboration. (ECF No. 167, PageID.1973.) At the time of this

  motion, the parties are a week out from trial with no disclosure.

       Fourth, Dr. Bedair’s testimony does not appear to be important to

  the question of whether Defendant, RN Fenrick, acted with deliberate

  indifference. There is no dispute here that West had oral surgery, that

  he claimed to have been in pain following his return to prison from oral

  surgery, or that he did not receive a prescription for narcotics at ARF.

  Dr. Bedair cannot inform the jury whether Defendant, RN Fenrick, was

  deliberately indifferent to Plaintiff’s alleged serious medical need on




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  November 18, 2019. It is undisputed that RN Fenrick is not an oral

  surgeon and cannot prescribe medications.

        Fifth, West will not have a legitimate explanation for not

  disclosing Dr. Bedair other than that the expert he wanted, Dr. Bolten,

  was denied by this Court.

        Because West has failed to properly identify and disclose Dr.

  Bedair as a non-retained expert under the Federal Rules, Fenrick’s

  motion in limine should be granted and Dr. Bedair should not be

  allowed to provide any expert opinion at trial.

  II.   This Court should exclude West’s proposed expert witness
        because he is not properly qualified to provide expert
        testimony under Fed. R. Evid. 702 in this case where only
        the liability of a nurse is at issue.

        Plaintiff proposes to add Dr. Bedair, BDS, as an expert witness.

  (ECF No. 167, PageID.1973.) No other information is provided about

  Dr. Bedair. The degrees following his name seemingly indicate that he

  is an oral surgeon. Regardless of his expertise, he is not a registered

  nurse like Defendant Fenrick. Defendant’s conduct is the only matter

  at issue in this case. Accordingly, Dr. Bedair should be excluded from

  testifying as an expert or offering expert opinion in this matter.




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        Rule 702 allows testimony from a witness, “who is qualified as an

  expert by knowledge, skill, experience, training, or education.” Fed. R.

  Evid. 702. An expert need not have all of these qualifications; so long as

  his particular background gives him expertise relevant to the opinions

  he offers, the court should find him qualified. See Berry v. City of

  Detroit, 25 F.3d 1342, 1350 (6th Cir. 1994); Mannino v. Int’l Mfg. Co.,

  650 F.2d 846, 851 (6th Cir. 1981) (“[T]he only thing a court should be

  concerned with in determining the qualifications of an expert is

  whether the expert’s knowledge of the subject matter is such that his

  opinion will likely assist the trier of fact in arriving at the truth.”).

  Courts read Rule 702 liberally and will qualify experts so long as their

  expertise is likely to be helpful. Morales v. Am. Honda Motor Co., Inc.,

  151 F.3d 500, 516 (6th Cir. 1998) (quoting Davis v. Combustion Eng’g,

  Inc., 742 F.2d 916, 919 (6th Cir. 1984)). If that standard is met, it is for

  the opposing party to impugn the expert’s credibility before the jury. Id.

        In Daubert v. Merrell Dow Pharmaceuticals, Inc., the Supreme

  Court explained that Rule 702 confers a, “gatekeeping role,” on trial

  judges to, “ensur[e] that an expert’s testimony both rests on a reliable

  foundation and is relevant to the task at hand.” 509 U.S. 579, 597, 113



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  (1993). For expert testimony to be admissible, the court must find the

  expert to be: (1) qualified; (2) his testimony to be relevant; and (3) his

  testimony to be reliable. Daubert, 509 U.S. at 589. The issue regarding

  expert testimony is not the qualifications of a witness in the abstract,

  but whether those qualifications provide a foundation for a witness to

  answer a specific question. Berry v. City of Detroit, 25 F.3d 1342, 1351

  (6th Cir. 1994).

       Nursing is a distinct realm in the practice of medicine, defined by

  Michigan statute as, “the systematic application of substantial

  specialized knowledge and skill, derived from the biological, physical,

  and behavioral sciences, to the care, treatment, counsel, and health

  teaching of individuals who are experiencing changes in the normal

  health processes or who require assistance in the maintenance of health

  and the prevention or management of illness, injury, or disability.”

  Mich. Comp. Laws 333.17201(1)(c) (emphasis added). Nurses are also

  governed by a licensing board, distinct from physicians. Mich. Comp.

  Laws 333.17211.

       Here, there is no foundation regarding the knowledge of the

  nursing discipline possessed by Dr. Bedair. Even if he possesses



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  knowledge under that general label of, “medical care,” nursing is a

  separate profession and has a different standard of care. As such, non-

  nurses cannot offer expert testimony on the conduct of a nurse, and vice

  versa. Milline v. CorrectCare Sols., L.L.C., No. 17- CV-12723, 2021 WL

  4583837, at *6 (E.D. Mich. Oct. 6, 2021) (holding that a physician is not

  competent to testify regarding the standard of care of a nurse);

  McElhaney ex rel. McElhaney v. Harper-Hutzel Hosp., 711 N.W.2d 795,

  800–01 (2006) (obstetricians/gynecologists may not testify about the

  standard of practice or care of a midwife or nurse). See also Shipp v.

  Murphy, 9 F.4th 694, 701 (8th Cir. 2021) (Nurses are not qualified to

  testify to a physician’s standard of care); Honey-Love v. United States,

  664 F. App’x 358, 360–61 (5th Cir. 2016) (report regarding the standard

  of care of a nurse inadmissible on the issue of a physician’s standard of

  care).

           Dr. Bedair does not have sufficient knowledge to testify regarding

  the Defendant’s conduct. Wilson v. Woods, 163 F.3d 935, 937 (5th Cir.

  1999); Everett v. Georgia-Pac. Corp., 949 F. Supp. 856, 857 (S.D. Ga.

  1996). As such, the motion in limine to exclude Dr. Bedair should be

  granted.



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              CONCLUSION AND RELIEF REQUESTED

       For the reasons explained herein, Defendant Fenrick, through

  counsel, respectfully requests that this Honorable Court grant this

  motion in limine to exclude Dr. Bedair from offering opinion testimony

  as a non-retained expert. If the Court does not grant the motion in

  limine, Fenrick asks that the Court adjourn the trial date and allow

  Fenrick time to obtain a rebuttal expert.


                                    Respectfully submitted,

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                 CERTIFICATE OF SERVICE (E-FILE)

       I hereby certify that on August 30, 2024, I electronically filed the

  above document(s) with the Clerk of the Court using the ECF System,

  which will provide electronic copies to counsel of record.

                                    /s/ Michael R. Dean
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                                    Assistant Attorneys General
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